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                                                                                        2019 Apr-08 AM 09:32
                                                                                        U.S. DISTRICT COURT
                                                                                            N.D. OF ALABAMA


                   THE UNITED STATES DISTRICT COURT FOR
                    THE NORTHERN DISTRICT OF ALABAMA
                            SOUTHERN DIVISION

 ISAAC BESTER

           Plaintiff

 v.                                                 Civil Action No. _____________

 ROCO REAL ESTATE LLC and
 ROCO MANAGEMENT, LLC

           Defendants

                         COMPLAINT UNDER THE
              FAIR LABOR STANDARDS ACT 29 U.S.C §201, ET. SEQ.

           Plaintiff Isaac Bester brings this action to recover the liability owed to him for

violations of 29 U.S.C. §201, et. seq. known as the Fair Labor Standards Act

(hereinafter “FLSA” or “Act”) by Defendant RoCo Real Estate LLC (“RoCo R.E.”)

and Defendant Roco Management, LLC (“Roco Mgmt.”) (collectively

“Defendants”) . Plaintiff seeks the liability owed for minimum wage and overtime

compensation violations, including an award of unpaid wages, an equal amount in

the form of liquidated damages, and an award of reasonable attorneys’ fees and costs

as provided under 29 U.S.C. §216(b) of the Act.

      I.      Parties

1.         Plaintiff Isaac Bester (hereinafter “Plaintiff or Bester”) is a citizen of the

United States of America and a resident of the state of Alabama.


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2.         Defendant RoCo Real Estate LLC (hereinafter “Defendant” or “RoCo R.E.”)

is foreign limited liability company registered with the Alabama Secretary of State

as Entity ID Number 280-436.

3.         Defendant Roco Management, LLC            (hereinafter “Defendant” or “Roco

Management”) is foreign limited liability company registered with the Alabama

Secretary of State as Entity ID Number 353-768.

4.         At all times material to this action Defendants were engaged in interstate

commerce and qualified as an employer under the FLSA.

5.         At all times material to this action Defendants were Plaintiff’s employer under

the FLSA.

6.         At all times material to this action Plaintiff was Defendants’ employee under

the FLSA.

     II.      Jurisdiction and Venue

7.         Plaintiff submits his written consent to become a party plaintiff to this lawsuit

pursuant to 29 U.S.C. §216(b). (Exhibit 1: Bester signed FLSA consent).

8.         Defendant Roco Management, LLC ("Defendant" or "Roco Mgmt.”) is a

privately owned and operated full service real estate investment and management

company.

9.         At all times material to this action, Defendants operated as a singled integrated

enterprise engaged in commerce or in the production of goods for commerce as


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defined by 29 U.S.C. §203(s)(1) of the FLSA and has an annual gross volume of sale

in excess of five-hundred thousand dollars ($500,000.00).

10.   Defendants operated as joint employers of Plaintiff.

11.   This lawsuit is brought pursuant to the FLSA for equitable and declaratory

relief and to remedy violations of the minimum wage and overtime provisions of the

Act. 29 U.S.C. §§ 206 and 207.

12.   This Court has subject matter jurisdiction over this action pursuant to 28

U.S.C. §1331.

13.   Venue is proper in the United States District for the Northern District of

Alabama pursuant to 28 U.S.C. §1391.

14.   Defendants are subject to personal jurisdiction in the state of Alabama for the

purpose of this lawsuit.

15.   At all times material to this action Defendants were an employer of Plaintiff

as defined by 29 U.S.C. §203(d) of the FLSA.

16.   At all times material to this action Plaintiff was and is an employee of

Defendants as defined by 28 U.S.C. §203 of the FLSA.

17.   At all times material to this action, Defendants employed Plaintiff, including

suffering permitting Plaintiff to work as defined by 29 U.S.C. §203(g).




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      III.     Facts

18.          Roco Mgmt.’s corporate office is located in at 33 Bloomfield Hills Parkway,

Suite 135 in Bloomfield Hills, MI 48304.

19.      RoCo R.E.’s corporate office is located in at 33 Bloomfield Hills Parkway,

Suite 275 in Bloomfield Hills, MI 48304

20.      Defendants own and operate approximately 20,000 apartment units across

thirteen (13) states and has over five-hundred (500) employees.

21.      Defendants have approximately eighty-two (82) apartment complexes.

22.      Defendants’ apartment complexes generally have individuals working in the

following positions:

                       a. Property Manager;

                       b. Assistant Manager;

                       c. Maintenance Supervisor.

23.      Defendants’ Chief Human Resource Officer is Nicole Goers.

24.      On May 3, 2017, Defendants extended an offer of employment to Plaintiff as

a full-time maintenance supervisor. (Exhibit 2: Offer Letter).

25.      Bester started his employment on or about May 12, 2017.

26.      Bester's employment with Defendants ended on or about January 29, 2018.

27.      Bester was assigned to the Chateau Glen Oaks located at 408 Fairfax Drive in

Fairfield, Alabama.


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28.      Defendants agreed to pay Bester a regular hourly rate of $19.50 for every hour

for worked up to 40 hours per week.

29.      At all relevant times, Bester worked as a maintenance supervisor at property

owned and managed by RoCo Real Estate.

30.      At all relevant times, Bester was paid by Roco Management for the work he

performed at Roco Real Estate’s Fairfield, Alabama location.

31.      Defendants agreed to pay Bester overtime hourly rate of $29.25 for every hour

worked over 40 hours per week.

32.      Defendants agreed to pay Bester every two weeks.

33.      Defendants used a punch clock to record "IN" and "OUT" times.

34.      Defendants’ time clock system tracked any edits made to "IN" and "Out"

times.

35.      Time information from apartment complexes were reported to the Michigan

corporate office and his checks were paid out by Roco Management.

36.      For the pay period between May 14, 2017 through May 27, 2017 Defendants

pay records for Bester show eighty (80) regulars hours paid and fifteen point six-

seven (15.67) overtime hours paid.

37.      For the pay period between May 28, 2017 through June 10, 2017, Defendants’

pay records for Bester show 77 regulars hours paid, 2.66 overtime hours paid, 6.35

regular holiday hours paid, and 1.65 holiday overtime records paid.


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38.   For the pay period between June 11, 2017 through June 24, 2017, Defendants’

pay records for Bester show 80 regulars hours paid and 5.8 overtime hours paid.

39.   For the pay period between June 25, 2017 through July 8, 2017, Defendants’

pay records for Bester show 71.50 regulars hours paid and 4.15 overtime hours paid,

and 8.5 holiday overtime hours paid.

40.   For the pay period between July 9, 2017 through July 22, 2017. Defendants’

records show Bester was paid 40 hours as salary code, 40 regular hours, and 4.18

overtime hours.

41.   For the pay period between July 23, 2017 through August 5, 2017, Defendants

pay records for Bester show only 80 hours paid as a salary pay rate.

42.   For the pay period between August 6, 2017 through August 19, 2017,

Defendants pay records for Bester showed only 80 hours paid as a salary pay rate.

43.   For the pay period between August 20, 2017 through September 2, 2017,

Defendants' pay records for Bester show only 80 hours paid as a salary pay rate.

44.   For the pay period between September 3, 2017 through September 16, 2017,

Defendants' pay records for Bester show only 80 hours paid as a salary pay rate.

45.   For the pay period between September 17, 2017 through September 30, 2017,

Defendants’ pay records for Bester show only 80 hours paid as a salary pay rate.

46.   For the pay period between October 1, 2017 through October 14, 2017,

Defendants' pay records for Bester show 80 hours paid as a salary pay rate.


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47.     For the pay period between October 15, 2017 through October 28, 2017,

Defendants' pay records for Bester show 80 hours paid. as a salary pay rate.

48.     For the pay period between October 29, 2017 through November 11, 2017,

Defendants' pay records for Bester show 80 hours paid as a salary pay rate.

49.     For the pay period between November 12, 2017 through November 25, 2017,

Defendants' pay records for Bester show 80 hours paid as a salary pay rate.

50.     Defendants paid Bester a bi-weekly amount of $1,560.00 which is

approximately $780.00 per week.

      IV.    Causes of Action

                     Violations of the Fair Labor Standards Act

51.     Plaintiff adopts by reference each and every material averment contained in

paragraphs 1 through 50 as if fully set forth herein.

52.     Defendants’ timekeeping, payroll, and classification policies, procedures, and

practices violated Plaintiff’s rights to minimum wage and overtime under the FLSA.

53.     Plaintiff regularly worked in excess of 40 hours per week, but Defendants did

not pay him time and half his regular rate of pay.

54.     Plaintiff performed duties before and after his clock-in/punch-in times and

clock-out/punch-out times.




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55.    Plaintiff continued to perform non-managerial and non-supervisory tasks and

duties in excess of twenty percent of his work time after Defendants classified him

as exempt from overtime.

56.    Plaintiff was required to be on-call and perform rounds inspecting the

property, including pick up trash and debris on the grounds, sweeping mopping the

mail and laundry rooms, as well as locking and unlocking those at the start and end

of day.

57.    Plaintiff was required to respond to calls from residents including calls

concerning maintenance and repair requests, such as sewage issues.

58.    Plaintiff complained about being moved to salary.

59.    Plaintiff suffered and was permitted to work for Defendants without any

compensation.

60.    Defendants knew or should have known that Plaintiff was performing

compensable work outside his clock-times.

61.    Plaintiff regularly worked in excess of forty hours per week and was not

compensated at his proper overtime rate.

62.    Plaintiff regularly performed compensable activity that was either not paid at

his regular rate of pay or his proper overtime compensation rate.

63.    Defendants’ failure to compensate Plaintiff for the compensable work was

willful.


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64.        Defendants’ failure to compensate Plaintiff for the compensable work was not

based a good faith understanding.

65.        Plaintiff was not paid minimum wage or the proper overtime for the

uncompensated time.

      V.        Prayer for Relief

           WHEREFORE, PREMISES CONSIDERED, Plaintiff prays for the following

relief:

           1.      that process issue against Defendants and that the Defendants be

           required to answer within the time period provided by applicable law;

           2.      that Plaintiff be awarded damages in the amount of his unpaid wages,

           and an additional amount as liquidated damages pursuant to 29 U.S.C.

           §216(b), and/or prejudgment interest;

           3.      that Defendants be required to pay Plaintiff’s attorneys’ fees;

           4.      that Defendants be required to pay the costs and expenses of this action;

           5.      that Plaintiff be granted such other, further and general relief to which

           he may show himself entitled; and

           6.      that a jury be impaneled to hear this cause of action at trial.

      VI.       Jury Demand

           THE PLAINTIFF DEMANDS A JURY TRIAL.

                                       /s Daniel Eduardo Arciniegas
                                       Daniel Eduardo Arciniegas (ASB-7809-D67A)

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Plaintiff’s Addresses
c/o Arciniegas Law, PLLC
c/o The Evans Law Firm, P.C.

Defendants’ Addresses:

PLEASE SERVE DEFENDANTS BY CERTIFIED MAIL

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Montgomery, Alabama 36104

Roco Management, LLC
Registered Agent: Congency Global, Inc.
2 North Jackson Street Suite 605
Montgomery, Alabama 36104


                                    s/ Daniel Eduardo Arciniegas
                                    Of Counsel

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